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              State of Tennesse v. Ronnie Lucas WilsonE2019-01864-CCA-R3-CDAuthoring Judge: Judg Robert H. Montgomery, Jr.Trial Court Judge: Judge Bobby R. McGeeThe Defendant, Ronnie Lucas Wilson, was convicted by a Knox County Criminal Court jury of four counts of being a felon in possession of a firearm; attempted first degree murder; two counts of employing a firearm with the intent to go armed during the commission of a dangerous felony; driving while the privilege to do so was canceled, suspended, or revoked; evading arrest in a motor vehicle and creating a risk of death or injury; two counts of initiating or making a false report to a law enforcement officer; and employing a firearm by a convicted felon during the commission of a dangerous felony. See T.C.A. §§ 39-17-1307(b)(1) (Supp. 2017) (subsequently amended) (firearm possession by a convicted felon), 39-13-202 (2018) (subsequently amended) (first degree murder), 39- 12-101 (2018) (criminal attempt), 39-17-1324(b) (2018) (subsequently amended) (employing a firearm during the commission of a dangerous felony), 55-50-504(a)(1) (2017) driving while privilege canceled, suspended, or revoked), 39-16-603(b)(1), (b)(3)(B) (2018) (evading arrest); 39-16-502 (2018) (a)(1), (a)(2) (false report). The jury found that the Defendant was a member of a criminal gang, and the trial court enhanced his sentences for being a felon in possession of a firearm and attempted first degree murder, which qualified as Criminal Gang Offenses pursuant to Tennessee Code Annotated section 40-35-121. The court merged the convictions for being a felon in possession of a firearm into a single count, merged the convictions for employing a firearm into a single count, and merged the convictions for initiating or making a false report into a single count. The court imposed an effective fifty-eight-year sentence. On appeal, the Defendant contends that (1) the evidence is insufficient to support his conviction for attempted first degree murder and the criminal gang enhanced verdicts, (2) the gang enhancement counts violate the Defendant’s constitutional rights to due process and expressive association, (3) the court erred in denying his motion to continue after severing the codefendant’s case on the morning of the trial, and (4) he is entitled to a new trial on the basis of cumulative trial error. We affirm the Defendant’s convictions, but we vacate the jury’s findings regarding the Criminal Gang Offenses Statute, and we modify the Defendant’s sentences for being a felon in possession of a firearm and remand for entry of corrected judgments for attempted first degree murder and being a felon in possession of a firearm.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              03/31/21            
                      
                          
                      
                          
                  
                        
                      
              Buddy Ray Small v. State of TennesseeW2020-00064-CCA-R3-PCAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Donald H. AllenBuddy Ray Small, Petitioner, was indicted for first degree murder, abuse of a corpse, and arson. He pled guilty to a reduced charge of second degree murder in addition to the other charges as listed in the indictment in exchange for an effective sentence of thirty-five years at 100%. Petitioner filed a petition for post-conviction relief, in which he alleged that his guilty plea was unknowing and involuntary and that he received the ineffective assistance of counsel. After a hearing, the post-conviction court denied relief. In this appeal, Petitioner challenges the denial of post-conviction relief. After a review, we affirm the judgment of the post-conviction court. However, because there are clerical errors in the judgment forms, we remand to the post-conviction court for correction of the judgment forms.            
                      
              Henderson County            
                      
              Court of Criminal Appeals             
                      
              03/31/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennesse v. Jamie P. DennisM2018-01894-CCA-R3-CDAuthoring Judge: Judge Alan E. GlennTrial Court Judge: Judge Larry J. WallaceThe Defendant, Jamie Paul Dennis, was convicted by a Stewart County Circuit Court jury of attempted rape of a child, a Class B felony, and attempted incest, a Class D felony. He was sentenced to respective terms of twenty-eight years and twelve years, to be served consecutively in the Department of Correction. On appeal, the Defendant argues that the evidence is insufficient to sustain his convictions and that the trial court erred in failing to provide a modified unanimity jury instruction where the State did not make an election of offenses. After review, we affirm the judgments of the trial court.            
                      
              Stewart County            
                      
              Court of Criminal Appeals             
                      
              03/31/21            
                      
                          
                      
                          
                  
                        
                      
              Juan LaSean Perry v. State of TennesseeM2020-00583-CCA-R3-HCAuthoring Judge: Judge Alan E. GlennTrial Court Judge: Judge Brody N. Kane The Petitioner, Juan LaSean Perry, appeals the dismissal of his petition for writ of habeas corpus. He asserts on appeal, as he did in his petition, that the trial court lacked jurisdiction to enter a judgment for second degree murder. He also asserts for the first time that the trial court erred in applying certain enhancement factors during sentencing. Following careful review, we affirm the denial of the habeas corpus petition.            
                      
              Trousdale County            
                      
              Court of Criminal Appeals             
                      
              03/31/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Termaine YorkW2020-00292-CCA-R3-CDAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge J. Robert Carter, Jr.A jury convicted the Defendant, Termaine York, of first degree premeditated murder for a shooting he committed at his former workplace. The Defendant appeals his conviction, arguing that the evidence presented at trial was insufficient to convict him of first degree premeditated murder because the State failed to establish premeditation. After a review of the record, we affirm the trial court’s judgment.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/30/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. John Dennis GreenM2019-02197-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge Royce TaylorA Rutherford County jury convicted Defendant, John Dennis Green, of aggravated assault and domestic assault, for which the trial court imposed an effective three-year sentence. On appeal, Defendant contends that the trial court erred by failing to instruct the jury on self-defense and that the evidence was insufficient to support his convictions. Upon review, we affirm the judgments of the trial court.            
                      
              Rutherford County            
                      
              Court of Criminal Appeals             
                      
              03/30/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. John IngramW2020-00423-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Donald H. AllenJohn Ingram, Defendant, pled guilty to several offenses including one count of aggravated burglary, one count of aggravated assault, and one count of domestic assault, with a total effective sentence of seven years, as a Range II offender. The trial court was to determine the manner of service of the sentence after a sentencing hearing. Following the hearing, the trial court denied alternative sentencing, concluding that Defendant’s prior criminal history and failed attempts at conditions involving release into the community rendered him an unfavorable candidate for an alternative sentence. Defendant appeals, arguing that the trial court abused its discretion. We affirm the judgments of the trial court.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              03/29/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Jessie James Somerville, IVW2020-00105-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Joe H. Walker, IIIDefendant, Jessie James Somerville, IV, was indicted by the Lauderdale County Grand Jury for one count of premeditated first degree murder and one count of felony reckless endangerment. Defendant entered no contest pleas to second degree murder and felony reckless endangerment. On the day of Defendant’s scheduled sentencing hearing, Defendant made an oral motion to withdraw his pleas, which the trial court took under advisement and subsequently denied by written order. Following a sentencing hearing, the trial court sentenced Defendant as a Range I standard offender to serve concurrent sentences of 22 years for his second degree murder conviction and one year for his felony reckless endangerment conviction. In this appeal as of right, Defendant contends that the trial court erred by denying his motion to withdraw his pleas and that his sentence is excessive. Having reviewed the entire record and the briefs of the parties, we affirm the judgments of the trial court.            
                      
              Lauderdale County            
                      
              Court of Criminal Appeals             
                      
              03/29/21            
                      
                          
                      
                          
                  
                        
                      
              DeShawn McClenton v. Grady Perry, WardenW2020-00336-CCA-R3-HCAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Lee V. CoffeeThe Petitioner, DeShawn McClenton, filed a petition for a writ of habeas corpus in the Shelby County Criminal Court, alleging that the trial court used four judgments of conviction from a prior case that were void on their face to sentence him as a career offender in the present case, which rendered the judgments of conviction in the present case void. The habeas corpus court summarily denied the petition, and the Petitioner appeals the denial. Based upon our review of the record and the parties’ briefs, we conclude that the appeal should be dismissed.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/29/21            
                      
                          
                      
                          
                  
                        
                      
              Marcus Johnson v. State of TennesseeW2019-02289-CCA-R3-PCAuthoring Judge: Judge Robert H. Montgomery, Jr.Trial Court Judge: Judge Carolyn Wade BlackettThe Petitioner, Marcus Johnson, appeals from the Shelby County Criminal Court’s denial of his petition for relief from his convictions for felony murder and aggravated assault and his effective life sentence. On appeal, the Petitioner contends that the post-conviction court erred in denying relief on his Rule 36.1 illegal sentence, habeas corpus, and post-conviction claims. We reverse the judgment of the trial court and remand this case in order for the trial court to enter an order reflecting findings of fact and conclusions of law as to each claim for relief.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/29/21            
                      
                          
                      
                          
                  
                        
                      
              Robert Echols v. State of TennesseeW2019-01982-CCA-R3-CVAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge Paula L. SkahanThe Petitioner, Robert Echols, appeals from the Shelby County Criminal Court’s denial of his petition for post-conviction relief. The Petitioner argues that trial counsel was ineffective for advising the Petitioner not to testify at trial and for failing to timely file a motion for new trial. However, because the Petitioner filed an untimely notice of appeal document and the interest of justice does not favor waiver of the timely filing requirement in this case, this appeal is dismissed.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/29/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Jadarius Sankevious FosterW2020-00349-CCA-R3-CDAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge Roy B. Morgan, Jr.The Defendant, Ladarius Sankevious Foster, was convicted by a Madison County Circuit Court jury of failure to maintain lane, possession of drug paraphernalia, and theft of property, and the trial court imposed an effective sentence of eleven months and twenty-nine days, with the Defendant to serve ten days in jail and the remainder of his sentence on community corrections. See Tenn. Code Ann. §§ 55-8-123, 39-17-425(a), 39-14-103. On appeal, the Defendant argues: (1) the evidence is insufficient to sustain his convictions for possession of drug paraphernalia and theft of property, and (2) the trial court failed to conduct an independent assessment of the fines fixed by the jury in this case. After review, we affirm the trial court’s judgments.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              03/26/21            
                      
                          
                      
                          
                  
                        
                      
              Steven Skinner v. State of TennesseeW2020-00385-CCA-R3-ECNAuthoring Judge: Judge John Everett WilliamsTrial Court Judge: Judge James M. LammeyThe Petitioner, Steven Skinner, filed a petition for writ of error coram nobis seeking relief from his two convictions for first degree premeditated murder and his consecutive life sentences. The trial court dismissed the petition because it was not timely filed, not entitled to due process tolling of the statute of limitations, and otherwise nonmeritorious. After a thorough review of the record, we affirm the dismissal.&nbsp;            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/25/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Terrell JacksonW2019-01883-CCA-R3-CDAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Lee V. CoffeeA Shelby County jury convicted the defendant, Terrell Jackson, of two counts of aggravated rape. Following a sentencing hearing, the trial court imposed an effective sentence of twenty-five years in confinement at 100%. On appeal, the defendant contends the statute of limitations was not tolled during the period of time he was involuntarily residing in Louisiana, and therefore, his prosecution was barred. The defendant also argues the State delayed the testing of the victim’s rape kit to obtain a tactical advantage. Upon our review of the record, arguments of the parties, and pertinent authorities, we affirm the judgments of the trial court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/25/21            
                      
                          
                      
                          
                  
                        
                      
              Earley Story v. State of TennesseeW2019-01406-CCA-R3-ECNAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Chris CraftThe petitioner, Earley Story, appeals the denial of his petition for writ of error coram nobis by the Shelby County Criminal Court, arguing the trial court erred in dismissing the petition because newly discovered evidence exists which is material to his case. After our review, we affirm the denial of the petition.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/25/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Charles GriffinW2019-01561-CCA-R3-CDAuthoring Judge: Judge John Everett WilliamsTrial Court Judge: Judge Chris CraftA jury convicted the Defendant, Charles Griffin, of first degree felony murder for a shooting committed during the course of a robbery. The Defendant appeals his conviction, arguing that the evidence presented at trial was insufficient to convict him of first degree felony murder, that the trial court abused its discretion in allowing the State to introduce as evidence a photograph of the victim taken during the victim’s lifetime, and that the court erred in denying his motion for DNA testing and a continuance. After review of the record, we affirm the trial court’s judgment.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/24/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Colton Davon HatchettW2020-00335-CCA-R3-CDAuthoring Judge: Judge John Everett WilliamsTrial Court Judge: Judge Roy B. Morgan, Jr.A jury convicted the Defendant, Colton Davon Hatchett, of the sale of 0.5 grams or more of methamphetamine and the delivery of 0.5 grams or more of methamphetamine. The trial court sentenced the Defendant to fifteen years as a Range II, multiple offender for each conviction, merged the convictions, and ordered the Defendant to serve his sentence consecutively to his sentence for a prior conviction. On appeal, the Defendant challenges the sufficiency of the evidence to support his convictions and the trial court’s imposition of consecutive sentences. We affirm the judgments of the trial court.            
                      
              Henderson County            
                      
              Court of Criminal Appeals             
                      
              03/24/21            
                      
                          
                      
                          
                  
                        
                      
              Colin D. Savage v. State of TennesseeM2019-01740-CCA-R3-PCAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge William R. Goodman IIIThe Petitioner, Colin D. Savage, appeals the Montgomery County Circuit Court’s denial of his petition for post-conviction relief, arguing that he received ineffective assistance of counsel. After review, we affirm the post-conviction court’s judgment.            
                      
              Montgomery County            
                      
              Court of Criminal Appeals             
                      
              03/24/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennesse v. Terrance LawrenceM2020-00630-CCA-R3-CDAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge Jennifer SmithFollowing a jury trial, the Defendant, Terrance Lawrence, a.k.a. Terence Lawrence, was convicted of especially aggravated kidnapping, aggravated assault, domestic assault, driving on a suspended driver’s license, and possession of a firearm after having been convicted of a felony involving the use or attempted use of force, violence, or a deadly weapon. The trial court imposed an effective sixty-year sentence. On appeal, the Defendant contends that (1) the trial court erred in limiting his cross-examination of the victim and the investigating officer; (2) the trial court erred in refusing to allow him to testify regarding his mental health issues; (3) the trial court erred in denying his request for a mistrial; and (4) he is entitled to a new trial due to cumulative error. We affirm the judgments of the trial court.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              03/24/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. John Curtis Perry Sr. and Ashley N. HankinsM2019-01311-CCA-R3-CDAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge David D. WolfeThe Defendants, John Curtis Perry, Sr., and Ashley Nicole Hankins, appeal their convictions for three counts of felony murder for which they were sentenced to life imprisonment. On appeal, the Defendants, either individually or collectively, argue that: (1) the evidence is insufficient to support the convictions; (2) the trial court erred in granting and denying various requests to continue the trial; (3) the trial court erroneously admitted evidence of prior bad acts; (4) the trial court erred in limiting the crossexamination of a witness; (5) the trial court erred in excluding a co-defendant’s statement; (6) the trial court erred in instructing the jury regarding the concealment and destruction of evidence; (7) the prosecutor made improper comments during rebuttal closing arguments; and (8) cumulative error warrants relief. Upon reviewing the record, the parties’ briefs, and the applicable law, we affirm the judgments of the trial court. However, we remand for entry of corrected judgments reflecting merger of the felony murder convictions into one conviction for each of the Defendants.            
                      
              Stewart County            
                      
              Court of Criminal Appeals             
                      
              03/23/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Ricky L. Helmick, Jr.E2019-02101-CCA-R3-CDAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge John F. Dugger, Jr.The defendant, Ricky L. Helmick, Jr., appeals his Hamblen County Criminal Court jury convictions of theft of property valued at more than $1,000 but not more than $2,500 and aggravated kidnapping to facilitate theft, arguing that the evidence was insufficient to support his convictions. Discerning no error, we affirm.            
                      
              Hamblen County            
                      
              Court of Criminal Appeals             
                      
              03/23/21            
                      
                          
                      
                          
                  
                        
                      
              Kevin French v. State of TennesseeM2019-01766-CCA-R3-PCAuthoring Judge: Judge Alan E. GlennTrial Court Judge: Judge Steve R. DozierThe Petitioner, Kevin L. French, appeals the denial of his petition for post-conviction relief from his convictions for first-degree premeditated murder, first-degree felony murder, and especially aggravated robbery. On appeal, he argues that: (1) he received ineffective assistance of counsel at trial and on appeal; (2) the State committed prosecutorial misconduct; (3) the State committed a Brady violation; and (4) he is actually innocent. After review, we affirm the denial of the petition.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              03/23/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Robert E. HuseM2019-02087-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr. Trial Court Judge: Judge Larry J. WallaceThe Dickson County Grand Jury charged Defendant, Robert E. Huse, with aggravated child abuse and first degree felony murder in connection with the death of his infant son, G.S. Prior to trial, the State filed a notice of intent to introduce prior bad act evidence that Defendant abused another child four years before the victim’s death. Against Defendant’s repeated objections, the trial court allowed the admission of the prior bad act evidence for the purposes of establishing intent, identity, and common scheme or plan. Following trial, the jury convicted Defendant as charged, and the trial court sentenced Defendant to life for first degree felony murder and to a concurrent term of fifteen years for aggravated child abuse. On appeal, Defendant argues that the evidence was insufficient to support his convictions and that the trial court erred in admitting the prior bad act evidence, which prejudiced him. Following a thorough review of the record and applicable case law, we conclude that the trial court abused its discretion by admitting the prior bad act evidence and that this error prejudiced Defendant. Therefore, we reverse the judgments of the trial court and remand for a new trial consistent with this opinion.            
                      
              Dickson County            
                      
              Court of Criminal Appeals             
                      
              03/23/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Michael Patrick Sullivan and Deborah Clark Buckner, AliasE2019-01471-CCA-R3-CDAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge E. Shayne SextonThe Defendants, Michael Patrick Sullivan and Debra Clark Buckner, alias, appeal from their Knox County Criminal Court convictions for animal cruelty, for which they each received an effective sentence of eleven months, twenty-nine days, suspended to supervised probation. On appeal, the Defendants argue that Tennessee Code Annotated section 39-14-211 requiring a probable cause determination by a qualified livestock examiner is a condition precedent to an animal cruelty conviction and that the evidence was insufficient to establish the examiner’s qualifications in this case. Following our review, we conclude relative to co-defendant Sullivan that this court is without jurisdiction to consider his appeal because he was granted judicial diversion. Relative to co-defendant Buckner, we affirm.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              03/22/21            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Ronald Lyons, James Michael Usinger, Lee Harold Cromwell, Austin Gary Cooper, and Christopher Alan HauserM2019-01946-CCA-R3-CDAuthoring Judge: Judge Timothy L. Easter Trial Court Judge: Judge Cheryl A. BlackburnRonald Lyons, James Michael Usinger, Lee Harold Cromwell, Austin Gary Cooper, and Christopher Alan Hauser, Defendants, were named in a 302-count indictment by the Davidson County Grand Jury for multiple counts of forgery and fraudulently filing a lien for their role in filing a total of 102 liens against 42 different individuals with the office of the Tennessee Secretary of State. Defendant Cooper was also named in a second indictment for five additional counts of forgery and five additional counts of fraudulently filing a lien. Prior to trial, Defendant Hauser filed a motion to dismiss for improper venue. Defendants Cromwell and Cooper joined in the motion. The trial court denied the motion after a hearing. After a jury trial, each defendant was convicted as charged in the indictment. The trial court sentenced Defendant Cromwell to an effective sentence of twenty-five years; Defendant Cooper to an effective sentence of fifty years; Defendant Lyons to an effective sentence of twenty-two years; Defendant Usinger to an effective sentence of twenty-one years; and Defendant Hauser to an effective sentence of twenty years. After motions for new trial and several amended motions for new trial were filed, the trial court held a hearing. The trial court denied the motions in a lengthy and thorough written order. Each defendant appealed, raising various issues challenging their convictions and sentences. After deep review, we affirm the all judgments and all sentences.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              03/22/21            
                      
                          
                      
                          
                  
            


      
    
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